Case 0:17-cv-60426-UU Document 312-4 Entered on FLSD Docket 11/13/2018 Page 1 of 18




                                EXHIBIT 3
Case 0:17-cv-60426-UU Document 312-4 Entered on FLSD Docket 11/13/2018 Page 2 of 18
Case 0:17-cv-60426-UU Document 312-4 Entered on FLSD Docket 11/13/2018 Page 3 of 18
Case 0:17-cv-60426-UU Document 312-4 Entered on FLSD Docket 11/13/2018 Page 4 of 18
Case 0:17-cv-60426-UU Document 312-4 Entered on FLSD Docket 11/13/2018 Page 5 of 18
Case 0:17-cv-60426-UU Document 312-4 Entered on FLSD Docket 11/13/2018 Page 6 of 18
Case 0:17-cv-60426-UU Document 312-4 Entered on FLSD Docket 11/13/2018 Page 7 of 18
Case 0:17-cv-60426-UU Document 312-4 Entered on FLSD Docket 11/13/2018 Page 8 of 18
Case 0:17-cv-60426-UU Document 312-4 Entered on FLSD Docket 11/13/2018 Page 9 of 18
Case 0:17-cv-60426-UU Document 312-4 Entered on FLSD Docket 11/13/2018 Page 10 of 18
Case 0:17-cv-60426-UU Document 312-4 Entered on FLSD Docket 11/13/2018 Page 11 of 18
Case 0:17-cv-60426-UU Document 312-4 Entered on FLSD Docket 11/13/2018 Page 12 of 18
Case 0:17-cv-60426-UU Document 312-4 Entered on FLSD Docket 11/13/2018 Page 13 of 18
Case 0:17-cv-60426-UU Document 312-4 Entered on FLSD Docket 11/13/2018 Page 14 of 18
Case 0:17-cv-60426-UU Document 312-4 Entered on FLSD Docket 11/13/2018 Page 15 of 18
Case 0:17-cv-60426-UU Document 312-4 Entered on FLSD Docket 11/13/2018 Page 16 of 18
Case 0:17-cv-60426-UU Document 312-4 Entered on FLSD Docket 11/13/2018 Page 17 of 18
Case 0:17-cv-60426-UU Document 312-4 Entered on FLSD Docket 11/13/2018 Page 18 of 18
